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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

DARYOUSH TAHA,                                           CIVIL ACTION
              Plaintiff,

              v.

BUCKS COUNTY PENNSYLVANIA,                               NO. 12-6867
BUCKS COUNTY CORRECTIONAL
FACILITY,
              Defendants.




                                          ORDER

       AND NOW this 29th day of May, 2019, upon consideration of Plaintiff’s Motion for

Leave to Reply to Defendants’ Oppositions to Plaintiff’s Motions in Limine (ECF No 317), IT

IS ORDERED that the Motion is DENIED AS MOOT.




                                                  BY THE COURT:


                                                  /s/Wendy Beetlestone, J.

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                                                  WENDY BEETLESTONE, J.
